Case 1:21-cv-02332-LTB-STV Document 17 Filed 12/07/21 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02332-STV

  MICHAEL HUPFER,

         Plaintiff,

  v.

  CAROLINE KAUFMAN and
  MARY HOGAN,

         Defendants.


       ORDER SETTING DEADLINE FOR FILING ELECTION CONCERNING
  CONSENT/NON-CONSENT TO MAGISTRATE JURISDICTION FORM AND SETTING
                      SCHEDULING CONFERENCE

  Entered By Magistrate Judge Scott T. Varholak

        This case has been directly assigned to Magistrate Judge Scott T. Varholak
  pursuant to D.C.COLO.LCivR 40.1(c).

        IT IS ORDERED:

         1.     Pursuant to D.C.COLO.LCivR 72.2(d), the parties shall complete and file
  the Election Concerning Consent/Non-Consent to United States Magistrate Judge
  Jurisdiction form, available from the Court’s website at www.cod.uscourts.gov, on or
  before December 30, 2021.

         2.    Pursuant to Fed. R. Civ. P. 16(b) and Local Civil Rule 16.1, the Court shall
  hold a scheduling conference on:

                               January 13, 2022 at 9:45 AM

  in Courtroom A-402, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
  Colorado. Please remember that anyone seeking entry into the courthouse will be
  required to show valid photo identification. See D.C.COLO.LCivR 83.2(b). If this date is
  not convenient for any party, the parties should either confer and file a motion or jointly
Case 1:21-cv-02332-LTB-STV Document 17 Filed 12/07/21 USDC Colorado Page 2 of 2




  call Chambers at 303.335.2365 to reschedule the scheduling conference to a more
  convenient date.

        3. At least 21 days in advance of the scheduling conference, the parties shall
  meet and attempt to agree upon a scheduling order pursuant to Fed. R. Civ. P. 26(f). The
  Court strongly encourages the parties to meet face to face, but should that prove
  impossible, the parties may meet by telephone conference. All parties are jointly
  responsible for arranging and attending the Rule 26(f) conference.

          During the Rule 26(f) conference, the parties shall discuss all of the issues
  identified in Fed. R. Civ. P. 16(c)(2) and Fed. R. Civ. P. 26(f)(2-3), including the nature
  and basis of their claims and defenses and the possibilities for a prompt settlement or
  resolution of the case, make or arrange for the disclosures required by Fed. R. Civ. P.
  26(a)(1), and develop their proposed scheduling/discovery plan. The parties should also
  discuss the possibility of informal discovery, whether the parties anticipate the need for
  experts, and whether the parties anticipate substantial electronic discovery. The parties
  should be prepared to discuss these issues at the scheduling conference.

         4. On or before January 6, 2022, the parties shall file a joint proposed scheduling
  order in the form required pursuant to D.C.COLO.LCivR 16.2. A copy of the instructions
  for the preparation of the proposed scheduling order and the required form can be
  downloaded from the court’s website at www.cod.uscourts.gov.                  Pursuant to
  D.C.COLO.LCivR 16.1, plaintiff shall be responsible for filing the proposed scheduling
  order, except in cases removed to this court, in which cases the party who removed the
  case shall file the proposed scheduling order. The proposed scheduling order shall be
  submitted electronically pursuant to District of Colorado Electronic Case Filing (“ECF”)
  Procedures V.6.1.

         5. The parties shall comply with the mandatory disclosure requirements of Fed.
  R. Civ. P. 26(a)(1).

         6. Pursuant to Fed. R. Civ. P. 26(d), no discovery shall be served prior to the Rule
  26(f) meeting.


  DATED: December 7, 2021                          BY THE COURT:


                                                   s/Scott T. Varholak            s
                                                   United States Magistrate Judge




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